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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                          No: 21-2604

People for The Ethical Treatment of Animals, Inc. and Angela Scott, individually, also known as
                                     Angela G. Cagnasso

                                                     Appellees

                                                v.

                                         Tonia Haddix

                                                     Appellant


______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:16-cv-02163-CDP)
______________________________________________________________________________

                                            ORDER

       The emergency motion for stay is denied.


                                                      July 26, 2021




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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